             Case 3:21-cv-05924-RJB Document 32 Filed 06/30/22 Page 1 of 4




 1   SaraEllen Hutchison (WSBA # 36137)                       THE HONORABLE JUDGE BRYAN
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 6   Attorney for Plaintiff
 7
 8                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9
      CHARLES ALBERT LAW,
10
                                                          NO. 3:21-cv-5924-RJB
11                            Plaintiff,
                 v.                                       STIPULATED MOTION FOR
12                                                        MODIFICATION OF DEADLINE
     EQUIFAX INFORMATION SERVICES
13   LLC, et al.,                                         NOTE ON MOTION CALENDAR:
                    Defendants.                           JUNE 30, 2022
14
15

16                                    I.     STIPULATED MOTION

17          Pursuant to Local Civil Rule 10(g), Plaintiff and Defendants (collectively, the “Parties”)

18   respectfully request and stipulate to the following modification of the Court’s February 9, 2022

19   Order (Dkt. 22):

20          Modify the deadline for disclosure of Expert Witness Disclosures and Reports from July

21   27, 2022 to August 19, 2022; Modify the deadline for FILING Discovery and Expert motions

22   from September 6, 2022 to September 8, 2022.

23                              II.        AUTHORITY AND ARGUMENT

24          Federal Rule of Civil Procedure 16(b) provides that a district court’s scheduling order

25   may only be modified upon a showing of “good cause” and with the judge’s consent. See also

26    STIPULATED MOTION FOR                           1
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 1
     Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 608 (9th Cir. 1992). A party demonstrates
 2
     good cause for the modification of a scheduling order by showing that, even with the exercise of
 3
     due diligence, he or she was unable to meet the timetable set forth in the order. Id. at 609. A
 4
     district court has broad discretion in supervising the pretrial phase of litigation and its decision
 5
     to modify a scheduling order will not be disturbed unless there is evidence of a clear abuse of
 6
     discretion. Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002).
 7
            Here, the parties are working diligently and are in regular communication to resolve the
 8
     case without time and expense of additional litigation, including investing in experts. Discovery
 9
     is well underway in this matter. Due to the complexity of this case, which is identity theft, and
10
     the travel and scheduling conflicts of counsel, the parties need a modest extension of time for
11
     the Expert Disclosure/Report deadlines and motion deadline.
12
            The parties believe this is good cause for the requested extensions.
13
     Dated this 30th day of June, 2022, at Tacoma, Washington.
14
15

16                                                  S//SaraEllen Hutchison
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                                                    Attorney for Plaintiff
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26    STIPULATED MOTION FOR                             2
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 7                                                Counsel for Defendant Equifax Information
                                                  Services LLC
 8
 9
10
                                    CERTIFICATE OF SERVICE
11
             I hereby certify under penalty of perjury under the laws of the State of Washington that
12
     on the 30th day of June, 2022, I electronically filed the foregoing with the Clerk of Court using
13
     the CM/ECF system which will send notification of such filing to all registered ECF participants
14
15   in this case.

16
17   Dated this 30th day of June, 2022 at Tacoma, Washington.
18
                                                  S//SaraEllen Hutchison
19                                                SaraEllen Hutchison (WSBA No. 36137)

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26    STIPULATED MOTION FOR                            4
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